     Rex K. Daines, OSB # 95244
 1
     OlsenDaines, P.C.
 2   PO Box 12829
     Salem, OR 97309
 3   Ph: (503) 362-9393
     rdaines@olsendaines.com
 4

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 6

 7
                         IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF OREGON
 9
                                                   )
10   IN RE:                                        )
                                                   ) Case No. 19-31642-tmb13
11   Edgar Valenzuela,                             )
     Priscilla Valenzuela,                         )
                                                   ) Adv. Proc. No.
12
                             Debtors.              )
                                                   )
13                                                 ) COMPLAINT TO AVOID PREFERENCE
                                                   )
14   Edgar Valenzuela,                             )
     Priscilla Valenzuela,                         )
15                                                 )
                          Plaintiffs,              )
                                                   )
16
     v.                                            )
                                                   )
17   Capital One Bank (USA), N.A.,                 )
                                                   )
18                        Defendant.               )
19

20         Plaintiffs, Edgar and Priscilla Valenzuela, by and through their attorney, Rex K.
21   Daines, allege the following:
22                                   JURISDICTION AND VENUE
23        1. This Adversary Proceeding is one arising out of the Plaintiffs’ bankruptcy case
24            number 19-31642-tmb13, filed under Chapter 13 of Title 11, now pending in this

25            Court. This Court has jurisdiction over this Adversary Proceeding pursuant to 28

26            U.S.C. §157, §1334, and 11 U.S.C. §523(b).

27        2. This suit contains a core proceeding, which this Court has jurisdiction over under 28

28            U.S.C. §157(b).


                                                                            OlsenDaines, P.C.
                                                                            PO Box 12829
                                                                            Salem, OR 97309-0829
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 1      3. Venue is correct because the Plaintiffs’ chapter 13 is currently pending with this
 2         Court. 28 U.S.C. §1409.
 3                                            PARTIES
 4      4. Plaintiffs are the Debtors in the above lead case filed with this court on May 03,
 5         2019.
 6      5. Defendant, Capital One Bank (USA), N.A. (hereinafter “Capital One”), is
 7         authorized to conduct business under the laws of Oregon.
 8
                                  FACTUAL BACKGROUND
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        6. Plaintiffs have an interest in real property located at 2071 NW Bella Vista Dr.
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           Gresham, OR 97030 (“the property”).
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        7. On or about April 5th, 2019, Capital One obtained a judgment lien against Plaintiffs
12
           in Multnomah County Circuit Court in case no. 19CV04373 (see Exhibit A).
13
        8. By operation of law, the Capital One judgment entered on or about April 5th, 2019
14
           created a lien that attached to the property. The creation of the lien is a transfer as
15
           defined by 11 § 101(54).
16
        9. The transfer was made on account of an antecedent debt and was made while the
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           Plaintiffs were insolvent.
18
        10. The transfer was made within the ninety (90) day period prior to the filing of
19
           Plaintiffs’ chapter 13 petition; and,
20
        11. The transfer enabled Capital One to get more than it otherwise would have received
21
           if such transfer had not been made and more than the creditor would have received
22
           on the debt through a Chapter 7 proceeding.
23
        12. The transfer was otherwise avoidable by the trustee as the ninety (90) day
24
           preference period commenced on February 2nd, 2019 and terminated on the date of
25
           filing, May 3rd, 2019. Capital One’s judgment was entered and the lien attached on
26
           April 5th, 2019.
27
        13. Plaintiffs seek to avoid the Capital One judgment lien that attached to the property
28
           during the 90 day preference period.

                                                                              OlsenDaines, P.C.
                                                                              PO Box 12829
                                                                              Salem, OR 97309-0829
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 1

 2                                      CAUSE OF ACTION
 3                                          (11 U.S.C. § 547)
 4      14. Plaintiffs re-allege paragraphs 1-13.
 5      15. Under 11 U.S.C. § 547(b), Plaintiffs are entitled to avoid the transfer made to
 6          Capital One during the 90 days prior to the commencement of their bankruptcy
 7          case.
 8

 9

10                                      PRAYER FOR RELIEF
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        WHEREFORE, Plaintiffs pray this court enter a Judgment Avoiding the Judgment Lien
12
        of Capital One entered in Multnomah County Circuit Court case no. 19CV04373 in
13
        full.
14

15              DATED: April 27, 2020
16

17                                              By:     /s/ Rex K. Daines
                                                        Rex K. Daines, OSB # 95244
18                                                      OlsenDaines, P.C.
                                                        Attorney for Plaintiffs
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                                                                            OlsenDaines, P.C.
                                                                            PO Box 12829
                                                                            Salem, OR 97309-0829
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                                                           EXHIBIT A: Page 1 of 2


Case Information

19CV04373 | Capital One Bank (Usa), N.a. vs Edgar Valenzuela

Case Number                    Court
19CV04373                      MUL Civil
File Date                      Case Type              Case Status
01/26/2019                     Contract               Closed




Party

Plaintiff                                             Active Attorneys 
Capital One Bank (Usa), N.a.                          Lead Attorney
                                                      ANDERSON,
                                                      JONATHAN D
                                                      Retained




Defendant
Valenzuela, Edgar




Disposition Events


04/05/2019 Judgment 



Judicial Officer
Bushong, Stephen K.
                                                                                    /
                           Case 20-03048-tmb          Doc 1      Filed 04/27/20
Judgment Type
Judgment - General Creates Lien                   EXHIBIT A: PAGE 2 OF 2

Monetary Award
  Signed Date: 04/0…
  Expiration Date: 0…
  Total: $23906.71

Party
   Name: Valenzuela, Edgar




                                                                           /
                          Case 20-03048-tmb   Doc 1   Filed 04/27/20
